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                          IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et al.,                 §
       Plaintiffs,                                   §
                                                     §     Case No. 5:21-cv-844-XR
 v.                                                  §     (Consolidated Cases)
                                                     §
 THE STATE OF TEXAS, et al.,                         §
       Defendants.                                   §

              STATE DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME

                             TO FILE RESPONSE TO MOTION TO COMPEL

         State Defendants, the State of Texas and John Scott, in his official capacity as Secretary of

State, file this Unopposed Motion for Extension of Time to File Response to the United States’

Opposed Motion to Compel (ECF 205) and show the Court the following:

      1. On January 24, 2022, Plaintiff United States filed an Opposed Motion to Compel Production

         (ECF 205).

      2. Pursuant to Local Rule CV-7(d)(2), State Defendants’ deadline to file a response is January 31,

         2022.

      3. Counsel for State Defendants are participating in a four-day preliminary injunction hearing in

         Brooks, et al. v. Abbott, et al.; Case No. 1:21-cv-991 (W.D. Tex.), that began on January 25, 2022.

      4. State Defendants respectfully request that the Court extend the deadline to file their response

         to the United States’ Opposed Motion to Compel Production up to and including February 4,

         2022.

      5. On January 24, 2022, the undersigned counsel conferred with counsel for the United States

         concerning this request. Plaintiff does not oppose the requested extension.

      6. This motion is not presented for purposes of delay and will not prejudice any party to this

         litigation.
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Date: January 26, 2022               Respectfully submitted.

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                                     COUNSEL FOR STATE DEFENDANTS
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                                 CERTIFICATE OF CONFERENCE

        I hereby certify that on January 24, 2022, I conferred with Dan Freeman, counsel for
Department of Justice, via phone call regarding this Motion. Plaintiff does not oppose the requested
extension.


                                              /s/ Jeffrey M. White
                                              Jeffrey M. White

                                    CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on January 26, 2022, and that all counsel of record were served by CM/ECF.

                                              /s/ Jeffrey M. White
                                              Jeffrey M. White
